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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 SHAROB ABDUL-AZIZ,                                    Civil Action No. 20-10265 (SDW)

                 Plaintiff,

         v.                                                          ORDER

 MARCUS O’HICKS et al.,

                 Defendants.


        This matter having come before the Court on Plaintiff Sharob Abdul-Aziz’s motion for

entry of default judgment (ECF No. 33), Defendant Barrington Lynch M.D.’s cross-motion to

vacate default and for an extension of time to answer, move, or otherwise plead (ECF No. 37), and

Plaintiff’s opposition to Defendant Lynch’s cross-motion to vacate default (ECF No. 39), for the

reasons set forth in the accompanying Opinion,

        IT IS on this 24th day of June 2022,

        ORDERED that Plaintiff’s motion for entry of default judgment (ECF No. 33) is

DENIED; and it is further

        ORDERED that Defendant Barrington Lynch M.D.’s cross-motion to vacate default and

for an extension of time to answer, move, or otherwise plead (ECF No. 37) is GRANTED; the

Clerk shall vacate entry of default; and Defendant Lynch shall answer, move, or otherwise plead

with respect to Plaintiff’s second amended complaint within 21 days from the date of entry of this

Order; and it is further




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       ORDERED that the Clerk of the Court shall serve a copy of this Order and the

accompanying Opinion upon Plaintiff by regular U.S. mail.




                                                  Hon. Susan D. Wigenton,
                                                  United States District Judge




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